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                                       UNITED STATES DISTRICT COURT

                                     NORTHERN DISTRICT OF CALIFORNIA

                                             CRIMINAL MINUTES

Date: December 6, 2021                 Time: 2:36-2:49 pm                 Judge: Edward J. Davila
                                       Total Time: 13 Mins.
Case No.: 20-cr-00425-EJD- Case Name: UNITED STATES v. Mark Schena (P)(NC)
1

Attorney for Plaintiff: Jacob Foster, Lloyd Farnham
Attorney for Defendant: Robert Carlin (AFPD)

 Deputy Clerk: Adriana M. Kratzmann                         Court Reporter: Summer Fisher

 Interpreter: N/A                                           Probation Officer: N/A

                                    PROCEEDINGS – STATUS CONFERENCE
                                    Via Zoom Webinar remotely due to COVID19

Defendant is present, out of custody and consents to the proceeding being held via video.
Counsel updated the court as to the status of the matter. Defendant anticipates retaining previous
defense counsel this week.
The Court set a further status conference and possible ID of counsel for 12/13/2021 at 8:00 a.m. via
Zoom.
Should defense counsel be retained prior to the hearing date, a substitution of counsel with an exclusion
of time shall be filed with the Court.
Pursuant to 18 U.S.C. §3161(h)(7)(A), the Court found the ends of justice served in granting the
continuance outweighed the best interests of the public and the defendant in a speedy trial and excluded
time from 12/6/2021 through and including 12/13/2021. For the reasons stated on the record, time is
excluded pursuant to 18 U.S.C. §3161(h)(7)(B)(iv).

CASE CONTINUED TO: December 13, 2021 8:00 A.M. for Further Status Conference via Zoom
webinar remotely.

Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure,
Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions interpreting Brady,
the government has a continuing obligation to produce all information or evidence known

                                                                                            Adriana M. Kratzmann
    P/NP: Present, Not Present
                                                                                                Courtroom Deputy
    C/NC: Custody, Not in Custody
                                                                                                   Original: Efiled
    I: Interpreter
                                                                                                              CC:
                 Case 5:20-cr-00425-EJD Document 87 Filed 12/06/21 Page 2 of 2




to the government that is relevant to the guilt or punishment of a defendant, including,
but not limited to, exculpatory evidence.

Accordingly, the Court Orders the government to produce to the defendant in a
timely manner all information or evidence known to the government that is either:
(1) relevant to the defendant’s guilt or punishment; or (2) favorable to the defendant on
the issue of guilt or punishment.

This Order is entered under Rule 5(f) and does not relieve any party in this matter
of any other discovery obligation. The consequences for violating either this Order or the
government’s obligations under Brady include, but are not limited to, the following:
contempt, sanction, referral to a disciplinary authority, adverse jury instruction, exclusion
of evidence, and dismissal of charges.

EXCLUDABLE DELAY:
Category – Effective preparation of counsel
Begins – 12/6/2021
Ends – 12/13/2021




                                                                                     Adriana M. Kratzmann
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